                                                                                     08/21/2024



                                                                                 Case Number: DA 24-0284



           IN THE SUPREME COURT OF THE STATE OF MONTANA

                                 No. DA 24-0284

STATE OF MONTANA,

             Plaintiff and Appellee,

      v.

RYAN PATRICK DONAHUE,

             Defendant and Appellant.


                                       ORDER

      Upon consideration of Appellant’s motion for a 30-day extension of time,

and good cause appearing therefore, Appellant is granted an extension of time up

to and including September 24, 2024, in which to prepare, file and serve the

Appellant’s opening brief in the above-entitled matter.




                                                                     Electronically signed by:
                                                                        Bowen Greenwood
                                                                    Clerk of the Supreme Court
                                                                          August 21 2024
